         Case 3:13-cv-01045-SI        Document 151-3        Filed 08/07/14    Page 1 of 57




Thomas Freedman Jr. (OSB No. 080697) thomas@prllaw.com
Pearl Law LLC
552 SW 5th Avenue, Suite 1100
Portland, Oregon 97204
Tel: (503) 295-6296 | Fax: (503) 295-6344

Valentin Gurvits (pro hac vice) vgurvits@bostonlawgroup.com
Matthew Shayefar (pro hac vice) matt@bostonlawgroup.com
Boston Law Group, PC
825 Beacon Street, Suite 20
Newton Centre, Massachusetts 02459
Tel: (617) 928-1800 | Fax: (617) 928-1802

Sean Ploen (pro hac vice) sploen@ploen.com
Ploen Law Firm, PC
100 South Fifth Street, Suite 1900
Minneapolis, Minnesota 55402
Tel: (651) 894-6800 | Fax: (651) 894-6801

Evan Fray-Witzer (pro hac vice) evan@CFWLegal.com
Ciampa Fray-Witzer, LLP
20 Park Plaza, Suite 505
Boston, Massachusetts 02116
Tel: (617) 426-0000 | Fax: (617) 507-8043

Attorneys for Plaintiff and Counter-defendant Calista Enterprises Ltd.

                            UNITED STATES DISTRICT COURT
                       DISTRICT OF OREGON – PORTLAND DIVISION



CALISTA ENTERPRISES LTD.,                           Case No. 3:13-cv-01045-SI
a Republic of Seychelles company,
                                                    EXHIBIT B – PART I
   Plaintiff,                                       TO PLAINTIFF’S FIRST AMENDED
                                                    COMPLAINT
- v. -

TENZA TRADING LTD.,
a Cyprus company,

   Defendant.


Val Gurvits | Matthew Shayefar | Boston Law Group, PC                                             Page 1
825 Beacon Street, Suite 20 | Newton Centre, MA 02459                    Exhibit B – Part I to Plaintiff’s
617-928-1800 | vgurvits@bostonlawgroup.com | matt@bostonlawgroup.com         First Amended Complaint
         Case 3:13-cv-01045-SI        Document 151-3        Filed 08/07/14   Page 2 of 57




TENZA TRADING LTD.,
a Cyprus company,

   Counterclaim Plaintiff,

- v. -

CALISTA ENTERPRISES LTD.,
a Republic of Seychelles company, and
ALEXANDER ZHUKOV,
a Czechoslovakian citizen,

   Counterclaim Defendants.




Respectfully Submitted,                             Dated: August 7, 2014
Plaintiff Calista Enterprises Ltd.
By its Attorneys,

/s/ Matthew Shayefar                                /s/ Evan Fray-Witzer
Matthew Shayefar (pro hac vice)                     Evan Fray Witzer (pro hac vice)
Valentin Gurvits (pro hac vice)                     Ciampa Fray-Witzer, LLP
Boston Law Group, PC                                20 Park Plaza, Suite 505
825 Beacon Street, Suite 20                         Boston, Massachusetts 02116
Newton Centre, Massachusetts 02459                  Tel: (617) 426-0000
Tel: (617) 928-1800                                 Fax: (617) 507-8043
Fax: (617) 928-1802                                 evan@CFWLegal.com
matt@bostonlawgroup.com
vgurvits@bostonlawgroup.com                         /s/ Thomas Freedman Jr.
                                                    Thomas Freedman Jr. (OSB No. 080697)
/s/ Sean Ploen                                      Pearl Law LLC
Sean Ploen (pro hac vice)                           552 SW 5th Avenue, Suite 1100
Ploen Law Firm, PC                                  Portland, Oregon 97204
100 South Fifth Street, Suite 1900                  Tel: (503) 295-6296
Minneapolis, MN 55402                               Fax: (503) 295-6344
Tel: (651) 894-6800                                 thomas@prllaw.com
Fax: (651) 894-6801
sploen@ploen.com



Val Gurvits | Matthew Shayefar | Boston Law Group, PC                                            Page 2
825 Beacon Street, Suite 20 | Newton Centre, MA 02459                   Exhibit B – Part I to Plaintiff’s
617-928-1800 | vgurvits@bostonlawgroup.com | matt@bostonlawgroup.com        First Amended Complaint
         Case 3:13-cv-01045-SI       Document 151-3      Filed 08/07/14   Page 3 of 57




Tenza Trading Ltd.
Ioanni Stylianou 6
2nd Floor, Flat 202                                         Domain Names in Dispute:
Nicosia, Cyprus 2002                                  largeporntube.com; goldporntube.com;
Complainant                                            kissporntube.com; boxporntube.com;
                                                        pipeporntube.com; 69porntube.com;
 v.                                                   royalporntube.com; bookporntube.com;
                                                      cubeporntube.com; freshporntube.com;
Calista Enterprises Ltd.                              lustporntube.com; bonusporntube.com;
Global Gateway 1749                                             directporntube.com
Rue de la Perle, Providence
Mahe Island, Seychelles                                          File Number:
Respondent                                                     FA1303001491515



                                           RESPONSE

[1.]    Respondent received a Written Notice of Complaint and Commencement of
Administrative Proceeding on April 12, 2013. The Notification stated that Complainant had
submitted a Complaint for decision in accordance with the Uniform Domain Name Dispute
Resolution Policy, adopted by the Internet Corporation for Assigned Names and Numbers
(ICANN) on August 26, 1999 and approved by ICANN on October 24, 1999 (“UDRP” or
“Policy”), and the Rules for Uniform Domain Name Dispute Resolution Policy (“Rules”),
effective March 1, 2010, and the National Arbitration Forum (FORUM) Supplemental Rules
(“Supp. Rules”), effective July 1, 2010. Rule 4.

[2.]     RESPONDENT INFORMATION

         [a.]      Name:        Calista Enterprises Ltd.
         [b.]      Address:     Global Gateway 1749
                                Rue de la Perle, Providence
                                Mahe Island, Seychelles
         [c.]      Telephone:   +420.774806357
         [d.]      Fax:         617-928-1802
         [e.]      E-Mail:      webmaster@alexz-traffic.com

[3.]     RESPONDENT’S AUTHORIZED REPRESENTATIVES

         [a.]      Name:        Matthew Shayefar, Valentin Gurvits
                                Boston Law Group, PC
         [b.]      Address:     825 Beacon Street, Suite 20


UDRP Response 5-1-13.doc

                                                                                            Ex. B - p. 1
       Case 3:13-cv-01045-SI        Document 151-3        Filed 08/07/14     Page 4 of 57


                              Newton Centre, MA 02459
       [c.]    Telephone:     617-928-1806, 617-928-1804
       [d.]    Fax:           617-928-1802
       [e.]    E-Mail:        matt@bostonlawgroup.com, vgurvits@bostonlawgroup.com

UDRP Rule 5(b)(ii).

       Respondent’s preferred contact person for correspondence relating to this case:

        [a.]     Contact Name(s): Matthew Shayefar, Valentin Gurvits,
        [b.]     Contact Emails(s): matt@bostonlawgroup.com,
                                    vgurvits@bostonlawgroup.com
       Rule 5(b)(iii).

        Respondent chooses to have this dispute heard before a three-member administrative
panel. Rule 5(b)(iv). The Respondent provides the following three candidates to serve as the
panelists:

       1.      Richard Hill, Hill & Associates, info@hill-a.ch, +41-22-840-1021

       2.      Petter Rindforth, Fenix Legal KB, info@fenixlegal.eu, +46-8-463-5016

      3.     Paul DeCicco, Law Offices of Paul Michael DeCicco, info@pmdlaw.com, +1-
619-595-0500


[3.]   RESPONSE TO FACTUAL AND LEGAL ALLEGATIONS MADE IN
       COMPLAINT

       This Response specifically responds to the statements and allegations contained in the
       Complaint and includes any and all bases for the Respondent to retain registration and
       use of the disputed domain names. Rule 5(b)(i).

A.     The Complainant Has No Rights in the Terms “porn tube” or “porntube”

        Although the Complainant cites its registration of the PORNTUBE trademark (the
“Putative Mark”) as “prima facie evidence that the mark is distinctive and capable of source
identification,” the evidence suggest otherwise – and as discussed in more detail below, the
Putative Mark is presently subject to a cancellation proceedings with the United States Patent
and Trademark Office before the Trademark Trial and Appeal Board. Respondent and thousands
of others in the adult entertainment industry, the mainstream media and the community of
Internet users use the terms “porn tube” and “porntube” as generic and/or descriptive
designations for websites that offer streaming adult-themed video content. On the basis of the
generic and/or descriptive nature of these terms, Complainant has filed a petition for cancellation
of the Complainant’s registration in the Putative Mark with the United States Patent and
Trademark Office. See Annex 1, Petition for Cancellation, Calista Enterprises, Ltd. v. Tenza
Trading Ltd., cancellation proceeding no. 92057048 (TTAB Apr. 10, 2013).


                                                2

                                                                                               Ex. B - p. 2
        Case 3:13-cv-01045-SI             Document 151-3            Filed 08/07/14        Page 5 of 57


        The word “porn” is a common shortened form of the word “pornography” and it either
names or merely describes the adult entertainment services recited in Complainant’s registration
for the Putative Mark. The word “tube” historically served as an informal or slang term for
“television” and, since the explosion in popularity of the website YouTube.com in 2005, it has
come into widespread and common use to refer to streaming video websites on the Internet. See
Annex 2, Google Trends results as between the terms “tube” and “youtube.” Complainant’s
combination of the words “porn” and “tube” into the designation “porntube” or “porn tube” is
therefore insufficient to render that term capable of source-identifying significance. See In re
ING Direct Bancorp, 100 USPQ2d 1681 (TTAB 2011) (“Applicant’s deletion of spaces or
hyphens within the designation ‘Person2Person’ cannot transform clearly generic terms such as
‘Person 2 Person Payment’ or ‘Person-2-Person Payment’ into something that is capable of
functioning as a source identifier.” (citing In re 3com Corp., 56 USPQ2d 1060, 1061 (TTAB
2000))).

       As a result of the descriptive and popular nature of the words “porn” and “tube,” the
terms “porn tube” and “porntube” have come into widespread and common usage to name and to
describe websites such as those operated by Respondent and Complainant. A Google Search for
the words “porn tube” returns approximately 801 million results, and the first result is not the
Complainant’s website, but a website called YouJizz.com (which is wholly unaffiliated with the
Complainant). See Annex 3, Google Search results for the term “porn tube.” However, the
Google Search returns thousands of other websites which either describe themselves or are
described as “porn tubes.” The results are almost identical on a search for the term “porntube.”
See Annex 4, Google Search results for the term “porntube.”

       An analysis of the most popular adult tube websites on the Internet also reveals the
generic and descriptive nature of the term “porn tube.” There are 32 porn tubes in Alexa.com’s
top 1,000 websites on the Internet.1 Of those websites, approximately 65% of them describe
themselves as a porn tube, and 44% of them show up in the first three pages of the Google
Search results for the term “porn tube.” See Annex 5, Analysis of Alexa.com’s Top 1,000
websites.

        However, not only do Internet website developers and users use the term as a descriptor
for adult video websites, but the term is also used descriptively by journalists, courts and the
medical and scientific communities. See, e.g., “Are Porn Tube Sites Causing Erectile
Dysfunction?,” Psychology Today, January 16, 2013; “Copyright Infringements in the Porn
Industry,” The New York Times, Kal Raustiala and Chris Sprigman, May 5, 2010; “The King of
Porn Gossip,” Gawker, September 28, 2012; Liberty Media Holdings, LLC v. Vinigay.com, 2011
WL 7430062 (D. Ariz. Dec. 28, 2011) report and recommendation adopted, 2012 WL 641579
(D. Ariz. Feb. 28, 2012); The Challenge of User-Generated Porn,” Forbes.com, August 8, 2009;
Porn Tubes Fight SOPA,” The Daily Texan, January 24, 2012; “The Geek-Kings of Smut,” New
York Magazine, February 7, 2011. Excerpts from each of these sources are included in Annex 1,
Petition for Cancellation.



1
  Alexa.com is a well-known traffic ranking site also used as evidence by the Complainant. The ranking for the top
1,000 websites can be found at the URL http://www.alexa.com/topsites by clicking “Free Download – Top
1,000,000 Sites (Updated Daily)” link on the top right. Respondent’s analysis in Annex 5 is based on data collected
from the rankings compiled on April 10, 2013.

                                                         3

                                                                                                               Ex. B - p. 3
        Case 3:13-cv-01045-SI            Document 151-3           Filed 08/07/14       Page 6 of 57


        Although Complainant references one instance in which the adult publication XBIZ.com
used the term “adult tube” instead of “porn tube,” Complainant has cherry picked its example
from among the multitude of examples to the contrary. XBIZ.com regularly uses the term “porn
tube” to describe adult video websites unrelated to Complainant. See Annex 6, Excerpts from
XBIZ.com. Moreover, Complainant’s contention that “adult tube” is an alternative and equally
strong descriptive term is both irrelevant and wrong. Internet consumers rarely search for
“adult” in place of “porn.” See Annex 7, Google Trends results as between “porn” and “adult,”
and Annex 8, Google Trends results as between “porn tube” and “adult tube.”

       Finally, it should be noted that although the Complainant claimed that its registration
with the United States Patent and Trademark Office “was received without any objections,”
Complaint p. 4, in order to receive such registration, the Complainant first had to enter into a
consent agreement with a third party that had registered the mark PORNOTUBE, then submit
evidence of such agreement in order to overcome an examiner’s refusal to register the Putative
Mark. See Annex 9, Response to Office Action. This false claim by the Complainant is clear
evidence of bad faith and Complainant’s misleading statements in its Complaint and in this
dispute in general.

        On the basis of the foregoing, the Complainant has no cognizable rights to the terms
“porntube” or “porn tube” because such terms are generic and/or descriptive. Therefore, Policy
¶4(a)(i) is not satisfied and the Complainant’s requested remedy should be denied.

B.   The Respondent’s Domains Are Not Confusingly Similar to the Complainant’s
Domains

        Even assuming arguendo that Complainant could have and does have rights in the term
PORNTUBE as a source identifier, Respondent’s use of the term “porn tube” in the domains at
issue in this proceeding (the “Disputed Domains”), as well as any websites located thereon, is
not confusingly similar to the Putative Mark and does not present a likelihood of confusion.

       The Disputed Domains are in and of themselves not confusingly similar to the Putative
Mark because users know it is impossible to distinguish within a URL the descriptive/generic
terms “porn tube” from the Putative Mark. First, it is commonly known that a domain name
cannot contain a blank space. Domains also do not recognize changes in case or capitalization.
Nor do domains allow for presentation in different colors or with other stylizations or logos, of
course. Therefore, it would be impossible to represent the generic and descriptive concept of a
“porn tube” in a domain name as two separate words in the same URL.2

        In any case, the Respondent’s websites available at the Disputed Domains each clearly
distinguish themselves from the Putative Mark and from the Complainant. See Gorstew Limited
v. Twinsburg Travel, FA94944 (Nat. Arb. Forum July 7, 2000) (examining the website as part of
the confusion analysis); SportSoft Golf, Inc. v. Hale Irwin’s Golfer’s Passport, FA94956 (Nat.
Arb. Forum July 11, 2000) (same); Weber-Stephen Products Co. v. Armitage Hardware, D2000-
0187 (WIPO May 11, 2000) (same); MathForum.com, LLC v. Huang, D2000-0743 (WIPO Aug.
17, 2000) (same).
2
 Though it is possible to place a hyphen in a domain name address, Respondent contends that this would make the
address a single word and would make Respondent’s domains more likely to be confused with Complainant’s
putative trademark in “porntube.”

                                                       4

                                                                                                            Ex. B - p. 4
       Case 3:13-cv-01045-SI        Document 151-3       Filed 08/07/14     Page 7 of 57



        Each of the Respondent’s websites uses the two-word form of “porn tube” and not the
Complainant’s putative trademark PORNTUBE. On each website, the two words are
distinguished from each other by a combination of a space, a differentiation of color, or
capitalization. See Annex 10, screen captures of titles and headers of the Respondent’s websites.
For example, the largeporntube.com title is presented as “Large Porn Tube” and its logo is three
clearly separate words reading “<LARGE> porn tube.” The boxporntube.com title is presented
as “Box Porn Tube” and its logo is presented as three different words, with “box” colored in
gold, “porn” colored in white, and “tube” colored in red. The freshporntube.com title is
presented as “Fresh Porn Tube” and its logo is the words “fresh porn” in two different colors and
“Tube” separately displayed on the screen of an image of a television.

         Moreover, the addition of a suggestive, arbitrary or fanciful word prior to each instance
of “porn tube” further distinguishes the Disputed Domains and websites from the Putative Mark.
For instance, an Internet user who visits the directporntube.com website may expect that he will
be visiting a website that delivers porn directly to him and an Internet user who visits the
royalporntube.com website may expect that he will be visiting a porn tube that is more regal than
others. In no case is it is reasonable to believe that a user is expecting to reach one of the
Complainant’s websites. See, e.g., Lockheed Martin Corp. v. Parisi, D2000-1015 (WIPO Jan.
26, 2001) (“Both common sense and a reading of the plain language of the Policy support the
view that a domain name combining a trademark with . . . language clearly indicating that the
domain name is not affiliated with the trademark owner cannot be considered confusingly similar
to the trademark.”). This fact is bolstered by the results for a Google Search for any of the
names of any of the Respondent’s websites. Not a single instance of the Complainant’s website
is returned on the first page of any of the results. See Annex 11, Google Search results for the
name of each Disputed Domain.

        Finally, the Complainant, in its consent agreement with the owner of the trademark
PORNOTUBE, agreed that due to the “sophistication of the users in the marketplace, namely
online users” there would be no confusion between the marks PORNTUBE and PORNOTUBE.
Annex 9. It is hard to understand then how the Complainant can argue that users would not be
confused between PORNTUBE and PORNOTUBE but that they would be confused between
PORNTUBE and FRESH PORN TUBE, for example. In the consent agreement, the
Complainant stated that although the Complainant and the registrant of the PORNOTUBE mark
had been continuously using their respective marks simultaneously in the marketplace for over
four years there had not been one documented instance of public confusion or mistake of origin.
Not surprisingly, there have also been zero documented instances of public confusion or mistake
of origin between the Complainant’s website and the Respondent’s websites as well.

        The above-referenced facts clearly distinguish the Disputed Domains and their associated
websites from the Putative Mark and the Complainant. Any reasonable user would know that the
Respondent is not the Complainant and would not be confused. See Wal-Mart Stores, Inc. v.
wallmartcanadasucks.com, D2000-1104 (WIPO Nov. 23, 2000) (accused domain name was not
confusingly similar because reasonable user would not believe the domain name was sponsored
by the complainant).

        Therefore, given the fact that Respondent’s suggestive domain names and websites are
distinguished from the Putative Mark and the Complainant to the greatest extent possible by the

                                                5

                                                                                              Ex. B - p. 5
         Case 3:13-cv-01045-SI             Document 151-3            Filed 08/07/14        Page 8 of 57


Uniform Resource Locator system and the fact that users do not consider either “porntube” or
“porn tube” to be source-identifying in any case, the Disputed Domains and their associated
websites are neither identical nor confusingly similar to the Putative Mark. Therefore, UDRP
Policy 4(a)(i) and 4(a)(iii) are not satisfied and the Complainant’s requested remedy should be
denied.

C.     Prior to Notification of the Dispute, the Respondent’s Websites Offered Bona Fide
Services

         The Respondent operates a number of porn tubes and other websites which drive traffic
to third party porn tubes. Since at least March of 2007, the Respondent has operated each of
these websites through its service known as “AlexZ Traffic” and the web portal alexz-
traffic.com. See Annex 12, WhoIs record for AlexZ-Traffic.com, and Annex 13, Screen Capture
of AlexZ-Traffic.com. As part of this business, the Respondent operates the websites available
at the Disputed Domains, which drive traffic to the Complainant’s and other websites on the
Internet. The redirection of traffic is a bona fide service offered by the Respondent on its
websites and the Respondent has undisputedly been providing these services prior to the time
this dispute arose.3

        The Disputed Domains and their websites have been operating in this manner since at
least as early as June 2009, when the domain freshporntube.com was registered. This was one
full year before the Complainant’s Community Trade Mark registration was issued and nearly
two years before the Complainant’s U.S. trademark registration was issued. By Complainant’s
own admission, the Respondent was operating at least 8 of the disputed domains prior to joining
the Complainant’s affiliate program (as described below). Complaint, p. 7. The Respondent
thus has been using the “porn tube” term in connection with offering bona fide services for
nearly four years prior to the filing of the Complaint, which was the first the Respondent was
notified of any dispute between it and the Complainant.

        The Complainant’s argument that the Respondent’s websites do not offer bona fide
services is demonstrably false based on the Complainant’s own allegations. The Complainant
has developed, operated and fostered an affiliate marketing program to drive traffic from third
parties like the Respondent to its own website. As per the Complaint, the Complainant pays
approximately $80,000 per month to parties, including the Respondent, to drive about 48 million
visitors per month to its own website. Complaint, p. 8. The traffic from the affiliate program
accounts for 80% of all the traffic to the Complainant’s website. Id.4 The 80% of traffic for
which the Complainant pays affiliates like the Respondent is likely an important and sought-after
part of the Complainant’s business, and presumably accounts for about 80% of the millions of
dollars in sales that the Complainant alleges it grosses each year.


3
  It is undisputed that the Respondent registered and began operating its websites far prior to the filing of the
Complaint. To the extent that the Respondent may argue that the dispute arose at any time prior to the filing of the
Complaint, Section F hereof demonstrates that Respondent knew of, approved of and even rewarded the
Respondent’s use of the disputed domain names and the websites available thereon. Prior to the filing of the
Complaint, Respondent was not aware of any dispute between it and the Complainant.
4
  The Complainant asserts that the Complainant’s affiliate program resulted in 47.9 million visitors in one month
and that Complainant receives a total of approximately 60 million visitors a month from all sources combined.
Complaint, p. 8.

                                                          6

                                                                                                                 Ex. B - p. 6
        Case 3:13-cv-01045-SI             Document 151-3            Filed 08/07/14        Page 9 of 57


        The Complainant has created its affiliate program to drive traffic to its website, and the
Complainant pours approximately $1million a year into this program. By all accounts,
Complainant’s own business is totally dependent upon parties like the Respondent driving traffic
to the Complainant’s website. However, despite all of this, the Complainant would have the
panel believe that the very business relationship it has created, encouraged and now depends on
is not a bona fide service.

       Specifically, the Complainant would have the arbitrator believe that the Respondent was
engaging in a bad faith business practice when, at the Complainant’s explicit invitation and
encouragement, the Respondent joined the Complainant’s affiliate program and began driving
millions of visitors to the Complainant’s website. The Complainant’s argument borders on
absurdity when it alleges bad faith on behalf of the Respondent when the Respondent was
responsible for approximately 8.25% of the Complainant’s affiliate traffic5 and when the
Complainant paid the Respondent more than $130,000 in direct compensation for this service.

        What is even more absurd is that the Complainant alleges that, despite paying the
Respondent substantial amounts of money and despite its dependence on the Respondent as a
significant source of its user base, the Complainant was unaware of the Respondent’s activities.
This allegation is prima facie false. As demonstrated in Section F below, it is unquestionable
that for years the Complainant was clearly aware of the Respondent, the Respondent’s websites
and the Disputed Domains, yet still induced and encouraged the Respondent to continue its
practice of driving traffic (and even explicitly awarded the Respondent for its actions).

         Finally, the Complainant has presented documents showing that the Respondent directed
traffic to another website called 4tube.com as evidence of bad faith, claiming that the
Respondent is directing traffic to a “competitor’s website.” Complaint, p. 6. Again, because the
Complainant has no rights in the descriptive and/or generic term “porn tube,” the Respondent is
not engaging in bad faith when the Respondent forwards users to other porn tube websites on the
Internet. However, one also must ask how it was that the Complainant was able to acquire the
proprietary and confidential traffic logs for the 4tube.com website.

       In fact, 4tube.com is either owned or operated by the same individuals who own and
operate the Complainant’s porntube.com website. See Annex 14, showing the same ICQ contact
number 59661018 for porntube.com and 4tube.com. Annex 15 copies chat logs wherein the
Complainant states that “we recently acquired www.porntube.com.” The chat logs also
demonstrate that the Complainant asked the Respondent to join the Complainant’s affiliate
program6 and individually set up an account for the Respondent on the Complainant’s affiliate
program.7 Moreover, the Complainant specifically singles out one of the Respondent’s websites
as one of its top referrers.8 By introducing the allegations regarding 4tube.com, the Complainant
5
  The Complainant has presented evidence that it has paid the Respondent $132,140 in a period of approximately 20
months, averaging to approximately $6,607 per month. Complaint, p. 8. The Complainant has also presented
evidence that the Complainant pays all its affiliates a total of approximately $80,000 each month. Complaint, p. 8.
$6,607 is approximately 8.25% of $80,000. It is therefore presumed that the Respondent drove approximately
8.25% of all affiliate traffic to the Complainant during this 20 month period.
6
  “i wanted to take 5min and introduce you to our pay per click program from 4tube” – “Croc and many other
webmasters are making some really nice money with it” – “and I think it would work nice with your network also.”
Chat logs from 16:31:23 2/9/2009, Annex 15.
7
  Chat logs from 16:40:27 2/09/2009, Annex 15.
8
  Chat logs from 16:02:23 15/06/2010, Annex 15.

                                                         7

                                                                                                               Ex. B - p. 7
      Case 3:13-cv-01045-SI        Document 151-3        Filed 08/07/14     Page 10 of 57


has not only shown its own bad faith but has further proven the bona fide nature of the
Respondent’s websites and business.

        Moreover, even if the Respondent’s websites do direct users to third party porn tubes not
operated by either the Complainant or the Respondent, this does not demonstrate an illegitimate
service, given the fact that the Respondent’s websites do not purport to be associated solely with
the Complainant. As discussed above, the Respondent operates websites which make use of the
generic and descriptive nature of the “porn tube” term and users of the Respondent’s websites
use these websites with the intent to access a variety of porn tubes other than the Complainant’s
website.

        Given the fact that the Complainant has knowingly and purposefully created, fostered and
funded the affiliate program which helps operate the Respondent’s websites, it is obvious that the
Respondent operates websites offering bona fide services. See Hewlett Packard Co. v. Napier,
FA94368 (Nat. Arb. Forum Apr. 28, 2000) (finding a bona fide service and no bad faith where
complainant was aware of the existence of respondent’s website, cooperated with respondent in
its development and use, acquiesced to respondent’s registration and use, and respondent’s
website added value to complainant’s products). The Complainant’s arguments to the contrary
are contradictory and are themselves in bad faith.

        Because the Respondent used the Disputed Domains and their associated websites in
connection with a bona fide offering of services, the Respondent has demonstrable rights to and
legitimate interests in the Disputed Domains in accordance with Policy ¶4(c)(i). Therefore,
Policy ¶4(a)(ii) and ¶4(a)(iii) are not satisfied and the Complainant’s requested remedy should be
denied.

D.     The Respondent is Commonly Known by Its Domain Names

       The Respondent and its websites are commonly known by the Disputed Domains and the
“porn tube” term, even if Respondent has not acquired trademark or service mark rights in the
domain names or the “porn tube” term.

       Two of the Respondent’s Disputed Domains appear on the first page of results for a
Google Search of the terms “porn tube.” See Annex 3. For every Google Search of “* porn
tube,” where the * is replaced with the respective first term of each of the Disputed Domains, the
Disputed Domain is the first in the search results. See Annex 11. In not a single search does the
Complainant’s website appear on the first page of any of the results of these Google Searches.

       Moreover, and more tellingly, some of the Respondent’s websites are more popular than
the Complainant’s website at porntube.com. According to Google Analytics, the Respondent’s
website at largeporntube.com received approximately 60.5 million visitors in March 2013. See
Annex 16, Google Analytics for largeporntube.com. According to the Complainant, the
Complainant receives only approximately 60 million visitors each month at porntube.com.
Complaint, p. 8.

        The Alexa rankings show even worse results for the Complainant. On April 10, 2013,
Alexa gave largeporntube.com a Global Rank of 459 on its list of most popular websites on the
Internet. Annex 5. On that same day, porntube.com had a Global Ranking of 676. Id.

                                                8

                                                                                              Ex. B - p. 8
       Case 3:13-cv-01045-SI            Document 151-3          Filed 08/07/14       Page 11 of 57


Respondent’s largeporntube.com website continues to be vastly more popular than the
Complainant’s porntube.com website through the instant filing date.

        In several places, the Complainant references the case of Google Inc. v. Privacy
Protect.cn, FA1480881 (Nat. Arb. Forum Feb. 25, 2013), for the proposition that the Respondent
cannot obtain rights in the Disputed Domains because it used a privacy registration service.
However, this argument is unavailing for a number of reasons. First, the Google case involved a
respondent who never responded to the complaint and therefore it should be cautiously followed.
Second, if use of a privacy registration in itself can act as evidence of bad faith, the panel
explicitly stated that the presumption is rebuttable. See also HSBC Finance Corp. v. Clear Blue
Sky Inc., D2007-0062 (WIPO June 4, 2007) (“The Panel does not consider the Respondent’s use
of a privacy service in and of itself to constitute bad faith under the Policy . . . .”). As another
panel has held, “‘Domain privacy’ is an understandable objective” and a desire for privacy
should not be held against the Respondent unless there is evidence of evasive conduct. Fifth
Third Bancorp v. Secure WhoIs Information Service, D2006-0696 (WIPO Sept. 14, 2006).

        There is absolutely no evidence of evasive conduct here. First, the Respondent’s name
and contact information is easily available for every one of the websites associated with the
Disputed Domains. The footer of every single one of the websites states “© 2009-2012 AlexZ-
Traffic.com”9 and links to a page listing the Respondent’s contact information. See Annex 17,
Footers of Respondent’s Websites. Consumers who visit each of the Respondent’s websites
know that the Respondent is the owner and operator of the website and know how to contact the
Respondent directly. In any case, the Respondent provided complete and accurate contact
information to the privacy service, which is now displayed in the WhoIs listing and through
which the Complainant has implemented the current proceedings. The fact that the Respondent
used a privacy registration service as an intermediary on the WhoIs listing, a listing which very
few if any actual consumers will ever view, is irrelevant, and any presumption arising therefrom
is rebutted.

         Ironically, the Complainant’s argument for lack of rights based on the Respondent’s use
of a privacy service demonstrates the Complainant’s own lack of rights and bad faith. The
Complainant itself uses a WhoIs domain privacy service for its domain name. See Annex 18,
WhoIs record for porntube.com. If Complainant believes its own argument regarding privacy
services, then Complainant would not have any rights in its own domain name either. Therefore,
either its argument regarding privacy services is in bad faith or its initiation of this entire
proceeding is in bad faith.

        Because the Respondent has been commonly known by the names of the websites
associated with the Disputed Domains, even if it has not acquired trademark or service mark
rights therein, the Respondent has demonstrable rights to and legitimate interests in the Disputed
Domains in accordance with Policy 4(c)(ii). Therefore, Policy 4(a)(ii) is not satisfied and the
Complainant’s requested remedy should be denied.




9
 AlexZ-Traffic.com is the name through which the Respondent owns and operates the websites associated the
Disputed Domains. The domain name AlexZ-Traffic.com is registered to the Respondent without any privacy
service. Annex 12.

                                                      9

                                                                                                            Ex. B - p. 9
        Case 3:13-cv-01045-SI            Document 151-3            Filed 08/07/14        Page 12 of 57


E.      The Respondent Did Not Register or Use the Disputed Domains in Bad Faith

        There is absolutely no basis for the Complainant’s allegations that the Respondent
registered and used the Disputed Domains in bad faith. As explained below and on the basis of
the facts above, to the extent that the Complainant has alleged bad faith under Policy ¶¶4(b)(iii)
and (iv), the allegations fail.10 Therefore, Policy 4(a)(iii) is not satisfied and the Complainant’s
requested remedy should be denied.

        Although Complainant alleges that, in accordance with Policy 4(b)(iii), the Respondent
has registered the Disputed Domains primarily for the purpose of disrupting the Complainant’s
business, the facts show the complete opposite. As explained above, the Respondent does not
operate porn tubes in competition with the Complainant – it operates porn tube aggregators that
in turn drive traffic to actual porn tubes like the Complainant’s. Therefore, as a threshold matter,
the Respondent is not a direct competitor of the Complainant and there is no bad faith under
Policy ¶4(b)(iii).

       Moreover, given the generic and descriptive nature of the term “porn tube” as detailed
above in Section B, the Complainant’s argument that the Respondent had “actual knowledge” of
the Putative Mark is unavailing. Each of the cases cited by the Complainant on page 10 of its
Complaint is based on a long-standing and unopposed trademark like YAHOO! and KMART.
The strength and popularity of the Complainant’s Putative Mark is miniscule as compared to the
referenced cases. Under the questionable legitimacy of the Complainant’s rights in the Putative
Mark, it would strain credulity to infer “bad faith” because the Respondent knew that the
Complainant was using a generic or merely descriptive term as a trademark. For this reason, the
Complainant’s allegations of bad faith under Policy ¶4(b)(iii) fails as well.

        With regards to Policy ¶4(b)(iv), although it is true that the Respondent is commercially
benefitting from the relationship between it and the Complainant, the Respondent is not
benefitting as a result of any consumer confusion. As detailed in Sections A and B above, the
Complainant has no exclusive rights and can have no exclusive rights in the term “porn tube”
and, in any case, there is no confusion between the Complainant and the Respondent or their
services and websites. Therefore, Policy ¶4(b)(iv) does not apply either.

         Therefore, the Complainant’s reliance on MathForum.com, LLC v. Huang, D2000-0743
(WIPO Aug. 17, 2000), Kmart v. Kahn, FA 127708 (Nat. Arb. Forum Nov. 22, 2002), State Fair
of Texas v. Granbury.com, FA 95288 (Nat. Arb. Forum Sept. 12 2000), and Drs. Foster & Smith,
Inc. v. Lalli, FA 95284 (Nat. Arb. Forum Aug. 21, 2000) is misplaced. In all those cases the
panels found evidence bad faith under Policy ¶4(b)(iv) where (i) the respondent operated a
website confusingly similar to the complainant which (ii) directed Internet users to the
respondent’s website. Neither of those factors is present here. The Respondent offers websites
which are not confusingly similar to the Complainant’s website, and the Respondent’s websites
direct Internet users to the Complainant’s website in accordance with Complainant’s explicit
request and for which the Complainant compensated the Respondent. Therefore, there is again
no evidence of bad faith under Policy ¶4(b)(iv).


10
  The Complainant has not alleged (and there is no reasonable basis for Complainant to allege) any bad faith under
Policy ¶¶4(b)(i) and (ii). Therefore the Respondent does not address those factors.

                                                        10

                                                                                                             Ex. B - p. 10
      Case 3:13-cv-01045-SI        Document 151-3        Filed 08/07/14     Page 13 of 57


        Finally, the Complainant’s allegation that the Respondent’s use of a privacy registration
service is evidence of bad faith is also baseless. As detailed in Section D above, use of a privacy
service does not in and of itself constitute bad faith. See HSBC Finance Corp. v. Clear Blue Sky
Inc., D2007-0062 (WIPO June 4, 2007). Bad faith can only be inferred from the use of a privacy
service where the Respondent is using the privacy service to evade. However, there is absolutely
no evidence of evasion here and the Respondent’s contact information is clearly accessible from
every single webpage. See Annex 17.

       Once again, ironically, the Complainant’s argument for bad faith based on the
Respondent’s use of a privacy service demonstrates the Complainant’s own bad faith. The
Complainant itself uses a WhoIs domain privacy service for its domain name. See Annex 18. If
Complainant believes its own argument regarding privacy services, then Complainant use of its
own domain name is in bad faith as well. Therefore, either its argument regarding privacy
services is in bad faith or its initiation of this entire proceeding is in bad faith.

        The Respondent did not register or use the Disputed Domains for the purpose of
disrupting anyone’s business, including the Complainant’s or for the purpose of luring the
Complainant’s users by creating a likelihood of confusion. In response to the Complainant’s
allegations under Policy ¶¶4(b)(iii) and (iv), the Disputed Domains were registered for the
purpose of promoting the businesses of third parties, including the Complainant. As detailed
above in Section C, the Respondent operated a bona fide service bolstered in part by an affiliate
program which the Complainant itself created to benefit the Complainant. By the Complainant’s
very own allegations, the evidence only shows that the Respondent’s activities have benefitted
the Complainant by sending millions of users to the Complainant’s website.

        Because the Disputed Domains were not registered or used in bad faith, Policy ¶4(a)(iii)
is not satisfied and the Complainant’s requested remedy should be denied.

F.    The Complainant Knew of, Fostered, Encouraged Rewarded and Profited from the
Respondent’s Websites

        Although the above facts make it clear that the Complainant cannot satisfy even one of
the three requirements of Policy ¶4(a), a number of other facts paint a clear picture that the
Complainant’s Complaint was brought in bad faith.

        Specifically, the Complainant would have the panel believe that the Respondent has
operated the Disputed Domains for years without the Complainant’s knowledge or consent and
in contravention of the Complainant’s rights in the Putative Mark. The facts could not be any
further from the truth.

        Even without reference to additional information, the fact that the Complainant paid the
Respondent in excess of $132,000 over a period of 20 months proves that the Complainant knew
or should have known about the Respondent’s use of the Disputed Domains. However, reliance
on conjecture in unnecessary, as there is undeniable proof that the Complainant worked with and
explicitly rewarded the Respondent for its work on behalf of the Complainant, even above and
beyond the regular affiliate fees that it paid.



                                                11

                                                                                             Ex. B - p. 11
          Case 3:13-cv-01045-SI           Document 151-3         Filed 08/07/14     Page 14 of 57


        The ICQ chat logs show an explicit pursuit by the Complainant to enroll the Respondent
in the Complainant’s affiliate program. See Annex 15. In one of these conversations, the
Complainant explicitly refers to at least one of the Disputed Domains as one of the
Complainant’s top referrers.11 In another conversation, the Complainant requests that the
Respondent fix a technical error stemming from one of the Disputed Domains.12

        Moreover, during certain periods of the affiliation between the Complainant and the
Respondent, the Respondent’s websites were among the most popular referrers to the
Complainant’s websites. This data was proudly displayed by the Complainant on the affiliate
program’s website. For instance, during the month of June 2011, the Respondent’s
goldporntube.com was the single most effective referring domain to the Complainant’s website,
referring 1,785,398 unique visitors. See Annex 19, Affiliate Program Stats. Twelve out of the
top 25 referring domains were the Disputed Domains. Id.

         Notably, in July 2011, the Complainant implemented a contest for its affiliates under
which the Complainant would award one iPads to each of three lottery winners. To receive
lottery tickets, the affiliates needed to refer traffic to the Complainant; the more traffic they
referred, the more tickets they would receive, and the better their chance of winning. See Annex
20, Affiliate Program Contest Rules. As explained above, the Respondent was one of the highest
referring affiliates in this time period and therefore it won more lottery tickets than any other of
the Complainant’s affiliates. On the strength of its referring numbers, the Respondent won the
Complainant’s contest, was awarded one of the iPads and was featured by name on the
Complainant’s website. Annex 21, Affiliate Program Contest Winners.

        It is therefore demonstrably untrue and disingenuous for the Complainant to allege that it
had no knowledge of the Respondent’s activities and that the Respondent’s activities were in bad
faith. If the Complainant’s allegations were true, it would have never rewarded the Respondent
for joining its affiliate program and bringing millions of users and hundreds of thousands of
dollars worth of business to it.

G.         The Complainant is Engaging in Reverse Domain Name Hijacking

        On the basis of the foregoing, it is clear that the Complainant has brought its complaint in
bad faith in an attempt at reverse domain name hijacking. Given the fact that the Complainant
cannot satisfy even a single factor under Policy ¶4(a), much less all three, and given the
additional ample evidence of bad faith as described above, the only possible purpose that the
Complainant could have had to file its Complaint was to harass the Respondent and to attempt to
deprive the Respondent of its legitimate interest in the Disputed Domains.

       Accordingly, in accordance with Rule 15(e), the Respondent requests that the panel
declare that the Complaint was brought in bad faith and constitutes an abuse of the
administrative proceedings.




11
     ICQ Chat log from 16:02:23 15/06/2010, Annex 15.
12
     ICQ Chat logs from 11:07:13 15/02/2011 through 10:40:26 9/03/2011, Annex 15.

                                                       12

                                                                                                    Ex. B - p. 12
       Case 3:13-cv-01045-SI       Document 151-3        Filed 08/07/14     Page 15 of 57


[4.]   OTHER LEGAL PROCEEDINGS

        As noted, the Respondent filed a petition for cancellation of the PORNTUBE trademark
registration (U.S. Reg. No. 3,936,197) with the United States Patent and Trademark Office
before the Trademark Trial and Appeal Board on April 10, 2013. The Respondent’s petition for
cancellation is attached to this Response as Annex 1 and is incorporated herein by reference.

       Pursuant to Rule 18(a), Respondent, having been advised that a Panel has not been
appointed, and that the Decision in this matter has not been published, hereby requests that, once
a Panel has been appointed, the Administrative Proceedings be terminated, or in the alternative,
suspended pending the outcome of the Petition for Cancellation.

Rule 5(b)(vi).

[5.]   RESPONSE TRANSMISSION

       The Respondent asserts that a copy of the Response, as prescribed by the FORUM’s
Supplemental Rules, has been sent or transmitted to the Complainant, in accordance with Rule
2(b). Rule 5(b)(vii); FORUM Supp. Rule 5.

[6.]   The Respondent respectfully requests that the Administrative Panel deny the remedy
requested by the Complainant.

[7.]   CERTIFICATION

        Respondent certifies that the information contained in this Response is to the best of
Respondent’s knowledge complete and accurate, that this Response is not being presented for
any improper purpose, such as to harass, and that the assertions in this Response are warranted
under these Rules and under applicable law, as it now exists or as it may be extended by a good-
faith and reasonable argument.

Respectfully submitted,
Respondent Calista Enterprises Ltd.
By its Attorney,

/s/ Matthew Shayefar
Matthew Shayefar, Esq.
Val Gurvits, Esq.
Boston Law Group, PC

Date: May 2, 2013.




                                                13

                                                                                             Ex. B - p. 13
     Case 3:13-cv-01045-SI    Document 151-3       Filed 08/07/14    Page 16 of 57




                               INDEX OF ANNEXES

Annex #    Annex Title

1          Petition for Cancellation
2          Google Trends results as between “tube” and “youtube”
3          Google Search results for the term “porn tube”
4          Google Search results for the term “porntube”
5          Analysis of Alexa.com’s Top 1,000 Websites
6          Excerpts from XBiz.com
7          Google Trends results as between “porn” and “adult”
8          Google Trends results as between “porn tube” and “adult tube”
9          Response to Office Action
10         Titles and headers of the Respondent’s websites
11         Google Search results for the names of the Respondent’s websites
12         WhoIs Record for AlexZ-Traffic.com
13         Screen capture of AlexZ-Traffic.com
14         Screen captures showing ICQ contact number
15         ICQ chat logs
16         Google Analytics for largeporntube.com
17         Footers of the Respondent’s websites
18         WhoIs Record for porntube.com
19         Affiliate Program stats
20         Affiliate Program contest rules
21         Affiliate Program contest winners




                                                                                     Ex. B - p. 14
Case 3:13-cv-01045-SI   Document 151-3   Filed 08/07/14   Page 17 of 57




                        ANNEX 1




                                                                          Ex. B - p. 15
USPTO. ESTTA. Receipt                                                         http://estta.uspto.gov/com/receipt.jsp?iname=EG2531ZKNP27-3844
                        Case 3:13-cv-01045-SI         Document 151-3           Filed 08/07/14        Page 18 of 57

                  United States Patent and Trademark Office

                  Home | Site Index | Search | Guides | Contacts | eBusiness | eBiz alerts | News | Help


                            Electronic System for Trademark Trials and Appeals




                                                                         ESTTA Tracking number: ESTTA531542
                                                                         Filing date:             04/10/2013

                               IN THE UNITED STATES PATENT AND TRADEMARK OFFICE
                                 BEFORE THE TRADEMARK TRIAL AND APPEAL BOARD

                                             Petition for Cancellation

         Notice is hereby given that the following party requests to cancel indicated registration.

         Petitioner Information

                Name           Calista Enterprises Ltd.
               Entity          Corporation                        Citizenship           Republic of Seychelles
                               Global Gateway 1749, Rue de la Perle
              Address          Providence, Mahe Island,
                               SEYCHELLES


                               Sean Ploen
                               Ploen Law Firm, PC
              Attorney         100 South Fifth Street, Suite 1900
            information        Minneapolis, MN 55402
                               UNITED STATES
                               sploen@ploen.com, bwold@ploen.com Phone:651-894-6800

         Registration Subject to Cancellation

                                                                  Registration
          Registration No 3936197                                                       03/29/2011
                                                                     date
                               Tenza Trading
                               Ioanni Stylianou 6 2nd Floor, Flat 202
             Registrant
                               Nicosia, 2002
                               CYPRUS


                                                                                                                     Ex. B - p. 16
1 of 2                                                                                                                    4/10/2013 4:21 PM
USPTO. ESTTA. Receipt                                                       http://estta.uspto.gov/com/receipt.jsp?iname=EG2531ZKNP27-3844
                        Case 3:13-cv-01045-SI        Document 151-3         Filed 08/07/14         Page 19 of 57



         Goods/Services Subject to Cancellation

          Class 041. First Use: 2005/05/00 First Use In Commerce: 2005/05/00
          All goods and services in the class are cancelled, namely: Entertainment services, namely,
          providing a website featuring adult entertainment; Entertainment services, namely, providing
          a website featuring photographs, videos, related film clips, and other multimedia materials in
          the field of adult entertainment

         Grounds for Cancellation

          Genericness                                         Trademark Act section 23
          The mark is merely descriptive                      Trademark Act section 2(e)(1)




                               Petition to Cancel PORNTUBE Registration.pdf ( 11 pages )(63298 bytes
            Attachments
                               )



                                                Certificate of Service

         The undersigned hereby certifies that a copy of this paper has been served upon all parties, at
         their address record by First Class Mail on this date.



              Signature        /s/ Sean Ploen
                Name           Sean Ploen
                Date           04/10/2013




                            | .HOME | INDEX| SEARCH | eBUSINESS | CONTACT US | PRIVACY STATEMENT




                                                                                                                   Ex. B - p. 17
2 of 2                                                                                                                  4/10/2013 4:21 PM
       Case 3:13-cv-01045-SI        Document 151-3        Filed 08/07/14     Page 20 of 57




      IN THE UNITED STATES PATENT AND TRADEMARK OFFICE
        BEFORE THE TRADEMARK TRIAL AND APPEAL BOARD


In the Matter of Trademark Registration No.: 3,936,197
For the mark: PORNTUBE
Date of Registration: March 29, 2011

__________________________________________
                                          )
Calista Enterprises Ltd.                  )
                                          )
                       Petitioner,        )
                                          )
                       v.                 )                  Cancellation No.:
                                          )
Tenza Trading Ltd.                        )
                                          )
                       Registrant.        )
__________________________________________)


                              PETITION FOR CANCELLATION

       Petitioner Calista Enterprises Ltd. (“Petitioner” or “Calista”), a Republic of Seychelles

corporation having a business address at Global Gateway 1749, Rue de la Perle, Providence,

Mahe Island, Seychelles, believes it has been and will be damaged by U.S. trademark registration

no. 3,936,197 (the “Registration”) for the mark PORNTUBE (the “Trademark”), issued to

Tenza Trading Ltd. (“Respondent” or “Tenza Trading”), a Cyprus corporation having a

business address at Ioanni Stylianou 6, 2nd Floor, Flat 202, Nicosia 2002, Cyprus. Petitioner

thus petitions to cancel the Registration. As grounds for cancellation, Petitioner alleges as

follows:




                                                 1
                                                                                                Ex. B - p. 18
         Case 3:13-cv-01045-SI         Document 151-3        Filed 08/07/14     Page 21 of 57




    I.          STANDING

           1.     Petitioner provides adult entertainment services, including operating several Web

sites that offer lists of, and links to, adult videos that are located on Web sites operated by third

parties.

           2.     Petitioner’s Web sites (the “Sites”) sort the linked videos by subject matter

category and by performer.

           3.     Petitioner’s Sites also offer directories of and links to other adult video Web sites

under headings such as “Top Rated Free Porn Sites” and “More Videos from Our Friends.”

           4.     On Petitioner’s Sites, a disclaimer of the following sort typically appears:

                  Disclaimer: RoyalPornTube.com is a fully automatic adult search
                  engine focused on free porn tube clips. We do not own, produce or
                  host the videos displayed on this website. All of the videos
                  displayed on our site are hosted by websites that are not under our
                  control. The linked videos are automatically gathered and added
                  into our system by our spider script. Thumbnails are automatically
                  generated from the videos. “Categories” is just a list of the most
                  popular search queries entered by surfers. The list of related
                  phrases is also based on surfers search queries.
                  RoyalPornTube.com has a zero-tolerance policy against illegal
                  pornography. We take no responsibility for the content on any
                  website which we link to. We take no responsibility for the
                  phrases entered by surfers. Please contact us if you have found
                  inappropriate content.

           5.     Petitioner earns revenue from the Sites in at least two ways: via advertisements

displayed on the Sites, and by ‘pay-for-traffic’ referral arrangements for directing users of the

Sites to the third-party Web sites where the indexed videos actually are hosted.

           6.     Several of the Sites operated by Petitioner are located at Uniform Resource

Locators (“URLs”) that contain the character string “porntube” – for instance, Petitioner’s Sites

are offered at the following URLs: <www.royalporntube.com>, <www.bonusporntube.com>,

<www.bookporntube.com>, and <www.freshporntube.com>, among others.



                                                    2
                                                                                                  Ex. B - p. 19
       Case 3:13-cv-01045-SI           Document 151-3         Filed 08/07/14       Page 22 of 57




        7.      On March 29, 2013, Petitioner received written notice from the National

Arbitration Forum that Registrant had filed a Uniform Domain-Name Dispute-Resolution Policy

complaint (the “UDRP Complaint”) against it, demanding that the registrations for

approximately one dozen domain names 1 be transferred from Petitioner to Registrant.

        8.      Petitioner’s registered URLs that are the subjects of the URDP Complaint all

contain the character string “porntube.”

        9.      In support of the UDRP Complaint’s demand that certain URLs be transferred

from Petitioner to Registrant, the UDRP Complaint cites the subject Registration and states that

the Registration is prima facie evidence that the PORNTUBE mark is distinctive and capable of

source identification.

        10.     In fact, the PORNTUBE designation that is the subject of the Registration is not

capable of source identification and is not distinctive.

        11.     Petitioner has a valid and continuing interest in using the character string

“porntube” in the URLs for its Sites and in the names of such Sites, including those Web sites

complained of in the URDRP Complaint.

        12.     Petitioner, along with thousands of others in the adult entertainment industry, in

the mainstream media, and in the community of Internet users, uses the terms “porn tube” and

“porntube” as generic designations for Web sites that offer adult-themed video content.

        13.     Petitioner is a competitor of Registrant and is in a position to continue its use of

the PORNTUBE designation in connection with services similar to those described in the

Registration, and Petitioner thus possesses standing to challenge the validity of Registrant’s U.S.

trademark registration for the term PORNTUBE.


1
 The caption of the UDRP Complaint lists twelve complained-of domains, but the body of the UDRP Complaint
adds a thirteenth domain to the list of complained-of domains.


                                                     3
                                                                                                      Ex. B - p. 20
         Case 3:13-cv-01045-SI          Document 151-3      Filed 08/07/14     Page 23 of 57




   II.          THE SUBJECT REGISTRATION

          14.     U.S. trademark application number 77/603111 for the mark PORNTUBE (shown

in standard characters with no stylization or design element) was filed by an alleged predecessor-

in-interest of Registrant on October 29, 2008. On March 29, 2011, registration no. 3,936,197

was issued to Registrant.

          15.     Registrant’s U.S. trademark registration for the mark PORNTUBE claims

protection for “Entertainment services, namely, providing a website featuring adult

entertainment; Entertainment services, namely, providing a website featuring photographs,

videos, related film clips, and other multimedia materials in the field of adult entertainment.”

          16.     The subject Registration alleges that Registrant’s predecessor-in-interest began its

use of the PORNTUBE designation in commerce in the U.S. at least as early as May, 2005.

   III.         “PORN” AND “TUBE,” GENERALLY

          17.     The mark shown in the Registration consists of the words PORN and TUBE

combined into a single term, a fact suggested by the Patent and Trademark Office in issuing the

November 6, 2008 “Notice of Pseudo Mark for Application Serial Number 77/603111,” which

assigned the phrase “PORN TUBE” as the pseudo mark for PORNTUBE.

          18.     The word “porn” is a common shortened form of the word “pornography.”

          19.     The word “porn” either names or merely describes the adult entertainment

services recited in the Registration.

          20.     The PTO commonly requires applicants to disclaim the exclusive right to use the

word PORN from trademarks where the claimed goods or services concern pornography and

adult entertainment, on the grounds that the word simply names or merely describes such

services.




                                                   4
                                                                                                 Ex. B - p. 21
       Case 3:13-cv-01045-SI         Document 151-3        Filed 08/07/14     Page 24 of 57




           21.   The word “tube” historically served as an informal or slang term for “television.”

           22.   In early 2005, the video-sharing Web site YouTube began operation; by the end

of 2006, that site’s owner, YouTube, LLC had been purchased by Google Inc. for $1.65 billion,

and in the eight years since YouTube’s creation, the site has become the third-most-visited Web

site in the U.S. and in the world, with more than one billion unique users visiting

www.youtube.com each month. See Wikipedia: “YouTube,”

http://en.wikipedia.org/wiki/YouTube (last visited Apr. 10, 2013); YouTube: “Statistics,”

http://www.youtube.com/yt/press/statistics.html (last visited Apr. 10, 2013).

           23.   The speed with which the YouTube Web site gained popularity for video-sharing

services, and the rapidity with which the YOUTUBE trademark entered the public

consciousness, led adult entertainment Web sites to adopt the words YOU and TUBE for use in

the names of Web sites devoted to providing pornographic videos; as one journalistic account

relates:

                 It was inevitable, once YouTube launched in 2005, that someone
                 would start a porn equivalent. Sure enough, over two months in
                 the summer of 2006, three different sites launched that would
                 become major adult-only tubes: PornoTube, RedTube, and
                 YouPorn. Like YouTube, the porn tubes were flooded with free
                 content -- some of it licensed for pennies from older companies
                 that didn’t understand the web, much of it pirated from paid sites.
                 The tubes had a new business model: They made most of their
                 money by keeping surfers on their sites and selling banner ads,
                 though they also put some content behind a paywall.

Benjamin Wallace, The Geek-Kings of Smut, NEW YORK, Jan. 30, 2011,

http://nymag.com/news/features/70985/.

           24.   The word “tube” either names or merely describes a Web site where videos are

made available.




                                                  5
                                                                                              Ex. B - p. 22
      Case 3:13-cv-01045-SI          Document 151-3        Filed 08/07/14    Page 25 of 57




         25.     Although registry practice necessarily lags public usage of the word “tube” in this

manner, the PTO has begun requiring applicants to disclaim the exclusive right to use the word

TUBE from trademarks where the claimed goods or services concern Internet-based video

services, on the grounds that the word simply names or merely describes such services.

   IV.         USE OF THE TERMS “PORN TUBE”
               AND “PORNTUBE” IS COMMONPLACE

         26.     The terms “porn tube” and “porntube” have come into widespread and common

use to name and to describe Web sites such as those operated by Registrant and Petitioner.

         27.     For example, such usage occurs within the medical and scientific community,

including within an article discussing the subject “Are Porn Tube Sites Causing Erectile

Dysfunction?” Posting of Gary Wilson to PSYCHOLOGY TODAY, CUPID’S POISONED ARROW blog,

http://www.psychologytoday.com/blog/cupids-poisoned-arrow/201301/are-porn-tube-sites-

causing-erectile-dysfunction (Jan. 16, 2013).

         28.     Such usage also occurs within mainstream journalism:

                 Whether harmful or not, YouTube’s success has unsurprisingly led
                 to imitations. Among them are the hugely popular “porn-tube”
                 websites like youporn.com, xvideos.com and pornhub.com. These
                 aggregate short clips of both amateur and commercial
                 pornography, posted by the site’s users. Like YouTube, a
                 tremendous amount of content is made available for free. But
                 there are important differences between YouTube and porn-
                 tube[s], beyond the fact that the people featured on the porn-tube
                 sites are naked.

Kal Raustiala and Chris Sprigman, Copyright Infringements in the Porn Industry, THE NEW

YORK TIMES, FREAKONOMICS blog, May 5, 2010,

http://www.freakonomics.com/2010/05/05/copyrighting-porn-a-guest-post/.

         29.     Such usage occurs within technology journalism, e.g.:




                                                  6
                                                                                               Ex. B - p. 23
      Case 3:13-cv-01045-SI        Document 151-3         Filed 08/07/14      Page 26 of 57




              The company was started by German programmer Fabian
              Thylmann, who capitalized early on the trend towards free porn
              “tube” sites—the x-rated YouTube clones—by buying up big tube
              sites like xTube and Pornhub.

Adrian Chen, The King of Porn Gossip: Meet Mike South, the Man Who Got to the Bottom of

The Industry’s Syphilis Outbreak, GAWKER blog, Sept. 28, 2012,

http://gawker.com/5946695/the-king-of-porn-gossip-meet-mike-south-the-man-who-got-to-the-

bottom-of-the-industrys-syphilis-outbreak.

       30.    Courts, too, have adopted this parlance:

              A “tube site” is a website that collects videos from other sites,
              either with or without permission, and rebroadcasts them.
              Youtube.com, for example, is a lawful and popular Internet video
              hosting tube site found at www.youtube.com. […] The
              [Defendants’] website vinigay.com is a tube site whose primary, if
              not all, works contain copyrighted pornographic films which were
              likely unlawfully downloaded from various adult-entertainment
              pay sites, including Plaintiff’s, then unlawfully uploaded and
              redistributed through tube sites for free, usually resulting in a profit
              of the tube owner via referral fees.

Liberty Media Holdings, LLC v. Vinigay.com, 2011 WL 7430062 (D. Ariz. Dec. 28, 2011);

report and recommendation adopted, 2012 WL 641579 (D. Ariz. Feb. 28, 2012) (citations

omitted).

       31.    Financial journalists, too, adopt this usage:

              “Tube sites” -- adult content Web sites that mimic YouTube in
              hosting everything from professionally made videos to user-
              generated clips -- have quickly risen in popularity since they came
              onto the scene a few years ago, and rank among the highest traffic-
              getters globally. Some, like Youporn and Pornhub, attract more
              views than the Web sites of The New York Times or Apple. But
              like YouTube and other video-sharing sites, tube porn sites have
              struggled with profitability and piracy.




                                                 7
                                                                                              Ex. B - p. 24
        Case 3:13-cv-01045-SI         Document 151-3       Filed 08/07/14     Page 27 of 57




Oliver J. Chiang, The Challenge of User-Generated Porn, FORBES.COM, Aug. 5, 2009,

http://www.forbes.com/2009/08/04/digital-playground-video-technology-e-gang-09-ali-

joone.html.

          32.     College newspapers also use the term generically; e.g.,

                  According to Forbes, the most visited online porn video websites
                  are “tube” websites such as YouPorn, which offers a sexy 61
                  categories ranging from the mild “instructional” to the wild
                  “fetish.” Porn tubes work essentially like YouTube: They provide
                  streaming content and rely on user-generated uploads.

Elyana Barrera, Porn Tubes Fight SOPA, THE DAILY TEXAN, Jan. 24, 2012,

http://dailytexanonline.com/life-and-arts/2012/01/24/porn-tubes-fight-sopa.

          33.     The owners and operators of pornographic video Web sites commonly refer to

their sites as “porn tubes.”

          34.     Visitors to and viewers of pornographic video Web sites commonly refer to such

sites as “porn tubes.”

          35.     The degree to which use of this term has become commonplace is indicated by the

fact that a search for the phrase “porn tube” on the Google search engine turns up approximately

129 million results.

   V.           COMBINING TWO GENERIC OR DESCRIPTIVE
                WORDS DOES NOT CREATE A DISTINCTIVE TERM

          36.     Most usage of the term “porn tube” occurs in just that manner, i.e., as a two-word

phrase.

          37.     Registrant’s combination of the words “porn” and “tube” into the designation

PORNTUBE, however, is insufficient to render that term capable of source-identifying

significance. See In re ING Direct Bancorp, 100 USPQ2d 1681 (TTAB 2011) (“Applicant’s

deletion of spaces or hyphens within the designation ‘Person2Person’ cannot transform clearly



                                                   8
                                                                                               Ex. B - p. 25
       Case 3:13-cv-01045-SI          Document 151-3        Filed 08/07/14      Page 28 of 57




generic terms such as ‘Person 2 Person Payment’ or ‘Person-2-Person Payment’ into something

that is capable of functioning as a source identifier,” citing In re 3Com Corp., 56 USPQ2d 1060,

1061 (TTAB 2000)).

   VI.         REGISTRANT’S KNOWLEDGE OF
               AND ACQUIESCENCE TO PETITIONER’S USE OF “PORNTUBE”

         38.     On information and belief, until late 2012, Registrant engaged in few, if any,

attempts to enforce trademark rights in the term PORNTUBE.

         39.     Registrant has known of Petitioner’s use of the character string “porntube” in the

URLs for Petitioner’s Sites for years and has provided incentives to Petitioner to refer Internet

user traffic to Registrant’s Web site.

         40.     For instance, Registrant has for several years paid referral fees to Petitioner for

directing Internet users from Petitioner’s Sites – including multiple sites incorporating the

character string “porntube” in their URLs -- to Registrant’s own Web site.

         41.     Registrant has for years possessed actual knowledge that Petitioner and others

make use of the character string “porntube” or close variants (e.g., “pornotube”) in URLs and

Web site names, and has either explicitly or implicitly acquiesced to such usage.

         42.     In light of the foregoing facts, consumers of video pornography Web sites do not

view the terms “porn tube” or “porntube” as indicators of source but instead as the generic name

for, or as terms simply describing, Web sites which make video pornography available for

viewing.

         VII.    CLAIMS FOR RELIEF

         43.     Genericness. Petitioner thus requests cancellation of the subject Registration on

grounds that the designation shown therein, PORNTUBE, does not possess source-identifying

capacity and lacks all distinctiveness with regard to the services recited in the subject



                                                   9
                                                                                                  Ex. B - p. 26
       Case 3:13-cv-01045-SI        Document 151-3        Filed 08/07/14     Page 29 of 57




registration, due to the term PORNTUBE having become substantially synonymous with such

services amongst the consuming public and within Registrant’s industry.

       44.     Lack of Acquired Distinctiveness. In the alternative, Petitioner requests

cancellation of the subject Registration on grounds that the designation PORNTUBE merely

describes Registrant’s services and has not in fact acquired distinctiveness as a source indicator

for Registrant within the requirements of the Lanham Act, 15 U.S.C. § 1052(f).

                         ***                    *****                  ***

       WHEREFORE, Petitioner respectfully requests that the Trademark Trial and Appeal

Board sustain this Petition for Cancellation and:

       (i)             cancel U.S trademark registration no. 3,936,197 on grounds that the

                       PORNTUBE designation shown therein is generic or is merely descriptive

                       when used in connection with the services recited therein; and,

       (ii)            award Petitioner any further relief the Board deems equitable.


DATED:         April 10, 2012                        PLOEN LAW FIRM, PC


                                                     /s/ Sean Ploen
                                                     Sean Ploen
                                                     100 South Fifth Street, Suite 1900
                                                     Minneapolis, MN 55402
                                                     Tel.: (651) 894-6800
                                                     Fax: (651) 894-6801
                                                     E-mail: sploen@ploen.com

                                                     Attorney for Calista Enterprises Ltd.




                                                10
                                                                                              Ex. B - p. 27
      Case 3:13-cv-01045-SI     Document 151-3      Filed 08/07/14   Page 30 of 57




                             CERTIFICATE OF SERVICE

        I hereby certify that a true and accurate copy of the foregoing PETITION FOR
CANCELLATION was mailed via First Class mail to Registrant and its attorney of record on
this 10th day of April, 2013 at the following addresses:

      Anna M. Vradenburgh, Esq.
      The Eclipse Group LLP
      6345 Balboa Boulevard
      Suite 325, Building II
      Encino, CA 91316

      and

      Tenza Trading Ltd.
      Ioanni Stylianou 6
      2nd Floor, Flat 202
      Nicosia 2002
      CYPRUS




                                                 /s/ Sean Ploen
                                                 Sean Ploen




                                            11
                                                                                     Ex. B - p. 28
Case 3:13-cv-01045-SI   Document 151-3   Filed 08/07/14   Page 31 of 57




                        ANNEX 2




                                                                          Ex. B - p. 29
Case 3:13-cv-01045-SI   Document 151-3   Filed 08/07/14   Page 32 of 57




                                                                          Ex. B - p. 30
Case 3:13-cv-01045-SI   Document 151-3   Filed 08/07/14   Page 33 of 57




                        ANNEX 3




                                                                          Ex. B - p. 31
Case 3:13-cv-01045-SI   Document 151-3   Filed 08/07/14   Page 34 of 57




                                                                          Ex. B - p. 32
Case 3:13-cv-01045-SI   Document 151-3   Filed 08/07/14   Page 35 of 57




                                                                          Ex. B - p. 33
Case 3:13-cv-01045-SI   Document 151-3   Filed 08/07/14   Page 36 of 57




                                                                          Ex. B - p. 34
Case 3:13-cv-01045-SI   Document 151-3   Filed 08/07/14   Page 37 of 57




                        ANNEX 4




                                                                          Ex. B - p. 35
Case 3:13-cv-01045-SI   Document 151-3   Filed 08/07/14   Page 38 of 57




                                                                          Ex. B - p. 36
Case 3:13-cv-01045-SI   Document 151-3   Filed 08/07/14   Page 39 of 57




                                                                          Ex. B - p. 37
Case 3:13-cv-01045-SI   Document 151-3   Filed 08/07/14   Page 40 of 57




                                                                          Ex. B - p. 38
Case 3:13-cv-01045-SI   Document 151-3   Filed 08/07/14   Page 41 of 57




                        ANNEX 5




                                                                          Ex. B - p. 39
      Case 3:13-cv-01045-SI        Document 151-3        Filed 08/07/14     Page 42 of 57




                       DECLARATION OF MATTHEW SHAYEFAR

I, Matthew Shayefar, declare as follows:

        1.      I am an attorney for Calista Enterprises Ltd., the Respondent in Tenza Trading
Ltd. v. Calista Enterprises Ltd., FA1303001491515 (Nat. Arb. Forum).

        2.    On April 10, 2013, I downloaded Alexa’s top 1,000,000 sites list from
http://www.alexa.com/topsites.

        3.     I documented every porn tube listed in the top 1,000 websites in Alexa’s list onto
the attached document with their respective rankings on that list.

       4.     For each website documented, I also searched the webpage itself to determine
whether the website used the term “porn tube” to describe itself, which I then documented in the
attached.

       5.      For each website documented, I also consulted the Google Search results for
“porn tube” and documented whether the listed website was listed as a result on the first three
pages of that Google Search.

        The undersigned, being hereby warned that willful false statements and the like so made
are punishable by fine or imprisonment, or both, under 18 U.S.C. § 1001, declares that all
statements made of my own knowledge are true and all statements made on information and
belief are believed to be true.


/s/ Matthew Shayefar
Matthew Shayefar

Dated May 1, 2013




                                                                                             Ex. B - p. 40
          Case 3:13-cv-01045-SI        Document 151-3         Filed 08/07/14      Page 43 of 57


                                                      Page on Google
                             Alexa   Described as     Search for "porn
Porn Tube                   Ranking "porn tube"            tube"
xvideos.com                       35
xhamster.com                      45
pornhub.com                       63     Yes         1
redtube.com                       77                 1
xnxx.com                          96     Yes         3
youporn.com                     100      Yes         1
Tube8.com                       130      Yes         1
hardsextube.com                 222
youjizz.com                     240      Yes         1
drtuber.com                     336      Yes
yourlust.com                    347      Yes
beeg.com                        367                                      Based on data collected from
bravotube.com                   436      Yes         3                     Alexa on April 10, 2013.
largeporntube.com               459      Yes         1
spankwire.com                   547      Yes         2
nudevista.com                   584
alphaporno.com                  585      Yes         3
keezmovies.com                  609      Yes         1
perfectgirls.net                645
porn.com                        652      Yes
pornerbros.com                  664      Yes
sunporno.com                    675      Yes
porntube.com                    676      Yes         1
4tube.com                       680
video-one.com                   693      Yes
ixxx.com                        720      Yes
xtube.com                       726      Yes         1
videosexarchive.com             766      Yes
h2porn.com                      767
hellporno.com                   789      Yes
tnaflix.com                     909                  2
slutload.com                    988


Number of porn tubes in Top 1000                                         32
Number of porn tubes using "porn tube" descriptor                        21
Percentage using "porn tube"                                             65.62%
Number of porn tubes showing up in 3 pages of Google search              14
Percentage showing up in 3 pages of Google search                        43.75%




                                                                                                  Ex. B - p. 41
Case 3:13-cv-01045-SI   Document 151-3   Filed 08/07/14   Page 44 of 57




                        ANNEX 6




                                                                          Ex. B - p. 42
Case 3:13-cv-01045-SI   Document 151-3   Filed 08/07/14   Page 45 of 57




                                                                          Ex. B - p. 43
Case 3:13-cv-01045-SI   Document 151-3   Filed 08/07/14   Page 46 of 57




                                                                          Ex. B - p. 44
Case 3:13-cv-01045-SI   Document 151-3   Filed 08/07/14   Page 47 of 57




                                                                          Ex. B - p. 45
Case 3:13-cv-01045-SI   Document 151-3   Filed 08/07/14   Page 48 of 57




                                                                          Ex. B - p. 46
Case 3:13-cv-01045-SI   Document 151-3   Filed 08/07/14   Page 49 of 57




                                                                          Ex. B - p. 47
Case 3:13-cv-01045-SI   Document 151-3   Filed 08/07/14   Page 50 of 57




                                                                          Ex. B - p. 48
Case 3:13-cv-01045-SI   Document 151-3   Filed 08/07/14   Page 51 of 57




                                                                          Ex. B - p. 49
Case 3:13-cv-01045-SI   Document 151-3   Filed 08/07/14   Page 52 of 57




                                                                          Ex. B - p. 50
Case 3:13-cv-01045-SI   Document 151-3   Filed 08/07/14   Page 53 of 57




                                                                          Ex. B - p. 51
Case 3:13-cv-01045-SI   Document 151-3   Filed 08/07/14   Page 54 of 57




                        ANNEX 7




                                                                          Ex. B - p. 52
Case 3:13-cv-01045-SI   Document 151-3   Filed 08/07/14   Page 55 of 57




                                                                          Ex. B - p. 53
Case 3:13-cv-01045-SI   Document 151-3   Filed 08/07/14   Page 56 of 57




                        ANNEX 8




                                                                          Ex. B - p. 54
Case 3:13-cv-01045-SI   Document 151-3   Filed 08/07/14   Page 57 of 57




                                                                          Ex. B - p. 55
